     Case 4:18-cr-00103-ALM-CAN Document 70 Filed 02/06/20 Page 1 of 2 PageID #: 476

                               THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                       SHERMAN DVISION

                                           DATE 2/6/2020

DISTRICT JUDGE                                      COURT REPORTER: Shawn McRoberts
Amos L. Mazzant, III                                COURTROOM DEPUTY: Keary Conrad
    UNITED STATES OF AMERICA

                                                      CAUSE NUMBER 4:18CR103
    V.

    RICHARD DENVER BELDEN

    ATTORNEY FOR GOVERNMENT                           ATTORNEY FOR DEFENDANT
    Marisa Miller                                     Brian O’Shea

On this day, came the parties by their attorneys and the following proceedings were held in Sherman, TX:

  TIME:          MINUTES: Sentencing
  3:50 p.m.      Court in session. Court notes appearances.
  3:51 p.m.      This is a continuation because Government had filed their motion for upward departure
  3:52 p.m.      Parties have reviewed PSR. Defendant acknowledges he fully understands the PSR. No
                 additions, corrections, or comments by the Government. No additions, corrections, or
                 comments by counsel for the Defendant. No objections by the Government. No
                 objections by the Defendant.
  3:52 p.m.      Court notes Defendant entered a guilty plea to Counts 1, 2, and 3 of the Indictment
                 without a plea agreement.
  3:54 p.m.      TOL: 37, CHC I, Count 1: 210-262 months imprisonment. Court hears argument from
                 AUSA Marisa Miller regarding appropriate sentence. AUSA Marisa Miller calls
                 Detective Jeffery Rich, City of Plano Police Department. Witness placed under oath.
  4:14 p.m.      Pass the witness. No questions by Defendant’s counsel, Brian O’Shea.
  4:15 p.m.      Court hears argument from AUSA Marisa Miller regarding appropriate sentence and her
                 Motion for Upward Variance/Departure.
  4:23 p.m.      Court hears response from Defendant’s counsel, Brian O’Shea.
  4:23 p.m.      Defendant’s counsel, Brian O’Shea calls Lonnie Turner (father in law) to make a
                 statement on behalf of Richard Belden. Defendant’s counsel, Brian O’Shea calls Linda
                 Turner (mother in law) to make a statement on behalf of Richard Belden.
  4:27 p.m.      Court hears from Defendant’s counsel, Brian O’Shea regarding sentencing memorandum.
  4:35 p.m.      Defendant allocuted.
  4:42 p.m.      AUSA Marisa Miller notes the agreed upon resolution of restitution amounts as follows:
                 CinderBlock Blue (aka Jane) $1,000; Lighthouse1 (aka Maureen) - $1,000; and Sweet
                 Sugar (aka Pia) $1,000.
  4:43 p.m.      Court recess for 5 minutes.
  4:50 p.m.      Sentence imposed is the Defendant is hereby committed to the custody of the Bureau of
                 Prisons to be imprisoned for a total term of 420 months. The term consists of 240 months
   Case 4:18-cr-00103-ALM-CAN Document 70 Filed 02/06/20 Page 2 of 2 PageID #: 477

            on Count 1, 240 months on Count 2 with 180 months to be served consecutively to Count
            1 and 240 months on Count 3 to be served concurrently to Count 1of the Indictment. The
            Court recommends to the Bureau of Prisons that the defendant receive appropriate sex
            offender treatment while imprisoned. While incarcerated, it is recommended that the
            defendant participate in the Inmate Financial Responsibility Program at a rate determined
            by Bureau of Prisons staff in accordance with the requirements of the Inmate Financial
            Responsibility Program. It is further ordered that the defendant must make restitution
            totaling $3,000 to the victims and in the amounts listed in the "Restitution" section of the
            Presentence Report, which is due and payable immediately. The Court finds that the
            defendant does not have the ability to pay interest. The Court will waive the interest
            requirement in this case. It is ordered that the defendant must pay to the United States a
            special assessment of $300, which is due and payable immediately. It is further ordered
            that the defendant must pay an assessment of $15,000 pursuant to the Justice for Victims
            of Trafficking Act of 2015 and 18 USC § 3014. Any monetary penalty that remains
            unpaid when the defendant's supervision commences is to be paid on a monthly basis at a
            rate of at least 10% of the defendant's gross income. The percentage of gross income to
            be paid with respect to any restitution and/or fine is to be changed during supervision, if
            needed, based on the defendant's changed circumstances, pursuant to 18 U.S.C. §
            3664(k) and/or 18 U.S.C. § 3572(d)(3), respectively. If the defendant receives an
            inheritance, any settlements (including divorce settlement and personal injury
            settlement), gifts, tax refunds, bonuses, lawsuit awards, and any other receipt of
            money (to include, but not be limited to, gambling proceeds, lottery winnings,
            and money found or discovered), the defendant must, within 5 days of receipt,
            apply 100% of the value of such resources to any financial penalty ordered.
            Upon release from imprisonment, the defendant will be on supervised release for
            a term of 20 years. This term consists of terms of 20 years on each of Counts 1,
            2, and 3 of the Indictment, all such terms to run concurrently. All mandatory and
            special conditions were reviewed with the Defendant.
5:03 p.m.   BOP Seagoville, Texas facility if appropriate. Rights of appeal addressed.
5:03 p.m.   Court will sign final order of forfeiture. Defendant’s counsel, O’Shea objects to
            the sentence.
5:04 p.m.   Defendant remanded to custody of USM.


                                                DAVID O’TOOLE, CLERK
                                                BY:      Keary Conrad
                                                      Courtroom Deputy Clerk
